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      attorneys for Plaintiff, COREY GERWASKI
 9
10                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
11
12    30REY GERWASKI,                           )
13                           Plaintiff,         ) CASE NO. 2:24-cv-00985

14
                                      )
      vs.                             )
15                                    )
      STATE OF NEVADA, ex rel. BOARD  )
16    3F REGENTS of the NEVADA SYSTEM )
      3F HIGHER EDUCATION, on behalf            ) OPPOSITION TO MOTION TO DR. HATEM
17    3f the UNIVERSITY OF NEVADA               ) BAZIAN'S MOTION TO QUASH OR STRIKE
      LAS VEGAS; KEITH WHITFIELD                ) IMPROPER SERVICE (ECF 56)
18    individually; AJP EDUCATIONAL             )
      FOUNDATION INC., a California             )
      Non-Profit Corporation; STUDENTS FOR      )
20    JUSTICE IN PALESTINE-UNLV;                )
      NATIONAL STUDENTS FOR JUSTICE             ) [ORAL ARGUMENT REQUESTED]
21    DP PALESTFNE; NEVADANS FOR              )
22
      PALESTINIAN LIBERATION;                 )
      DOES I-XX and ROE entities I-XX,        )
23    DEFENDANT(S), an Individual/LLC/Corp;:)
      DOE Nevada corporation; DOE Individuals )
2A    [-XX; ROE Entities, I-XX,               )
25                           Defendants.        )
                                                -)
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 1           COMES NOW, Plaintiff, COREY GERWASKI ("Mr. Gerwaski"), by and through his

2     attorneys of record, DAVID Z. CHESNOFF, ESQ., RICHARD. A. SCHONFELD, ESQ., and

3
      ROBERT Z. DEMARCO, ESQ., ofCHENSNOFF & SCHONFELD, and files this Opposition to
4
      Dr. Hatem Bazian's Motion to Quash or Strike Improper Service [ECF 56].
 5
             This Opposition is made and based upon the papers and pleadings on file herein, the
 6
      attached Memorandum of Points and Authorities, attached Exhibits, attached Declaration, and any
 7
 8    oral argument/evidence that may be heard. This Opposition is timely pursuant to an agreement with

 9    Counsel.

10           DATED this 24th day of April 2025.
11
                                                           Respectfully Submitted;
12
                                                           CHESNOPF & SCHONFELD
13
                                                      By: Robert Z. DeMarco
14
                                                           DAVID Z, CHESNOFF, ESQ.
15                                                         Nevada Bar No. 2292
                                                           RICHARD A. SCHONFELD, ESQ.
16                                                         Nevada Bar No. 6815
                                                           ROBERT Z, DEMARCO, ESQ.
17                                                         Nevada Bar No. 12359
                                                           520 South Fourth Street
18                                                         Las Vegas, Nevada 89101
19                                                         Phone: (702) 384-5563
                                                           Fax; (702) 598-1425
20                                                         Attorneys for Plaintiff

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                           MEMORANDUM OF POINTS AND AUTHORITIES

     I. INTRODUCTION AND BACKGROUND

             Here, this Honorable Court should not quash or strike service on Dr. Hatem Bazian (on

     behalf of Defendant National Students for Justice in Palestine "NSJP").' NSJP is an

     unincorporated entity with no formal service of process location. NSJP, with other named

     Defendants, took part in the actions, collaboration and planning of activities that are the subject of

     this litigation.2

             NSJP is a foreign unincorporated association that transacts business in Nevada.

      Established in 2005 by University of California, Berkeley lecturer (and current National Chairman

10    of the AJP Educational Foundation, Inc., a/k/a American Muslims for Palestine ("AMP")) Hatem

11    Bazian, AMP has seven chapters across the country. AMP is a not-for-profit corporation founded in

12    Illinois with national headquarters in Falls Church, Virginia. AJP Educational Foundation, a

13    501(c)(3) nonprofit, is AMP'S fiscal sponsor. "Most of what can be gleaned about AMP'S donors

14    derives from its annual fundraising conferences — which often feature family members of senior

15    Hamas leadership as speakers." See Exhibit 1, at p. 3 (Dr. Jonathan Schanzer, Senior Vice

16    President for Research Foundation for Defense of Democracies, wrote in From Ivory Towers to

17    Dark Corners; Investigating the Nexus Between Antisemitism, Tax-Exempt Universities, and Terror

18    Financing).

19            AMP also shares a key figurehead with NSJP, in Bazian, who helped establish the first NSJP

20 chapter at Berkeley.3 Facilitating campus activism through its proxy NSJP is a key part of AMP'S

21    work. NSJP has become a leading grassroots organizer of vehemently anti-Israel and sometimes

22

23
      'Dr. Bazian is not currently named as a Defendant in his personal capacity. Plaintiff reserves the
24
      right to amend the Complaint to add other Defendants, including, but not limited to, Dr. Bazian.
      2 It should be noted that on October 10, 2024, Plaintiff filed a Motion to Serve by Publication or
25
      Alternative Means and Extend Time for Service related to Defendants Students for Justice of
      Palestine-UNLV; National Students for Justice of Palestine; and Nevadans for Palestine Liberation.
26
      See ECF 27. The Motion was granted in part and denied in part. Specifically, Plaintiffs request to
      serve said Defendants by publication was denied, ECF 47.
27
      3 See Exhibit 2 at p. 10 (Congressional Testimony, Fueling Chaos: Tracing the Flow ofTax-Exempt
      Dollars to Antisemitism, Oren Segal, Vice President, Center on Extremism, ADL (Anti-Defamation
28
      League), Committee on Ways and Means U.S, House of Representatives, July 23,2024,
      Washington, D.C.).
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      violent protests that have swept the country and erupted on college campuses nationwide. NSJP is

      by design a loosely connected network of autonomous chapters. There is no national headquarters

      and no named leader. There is a national student steering committee, but it is anonymous. The

      group has never registered as a nonprofit, and it has never had to file tax documents. Bazian, has

      described the setup as, "a symbolic franchise without a franchise fee." See Exhibit 3, Alan Blinder,

      "Inside the Pro-Palestinian Group Protesting Across College Campuses" N.Y. Times, Nov. 17,

      2023, Section A, Page 13.

             Though Bazian now apparently denies his relationship with NSJP, in previous court filings,

      it was proclaimed, "fhje is also a cofounder of Students for Justice in Palestine" See Exhibit 4,

10 2:18-cv-00670-DWL. [Dkt 1] p. 2:17-18 (emphasis added).

11           Since October 7, 2023, Bazian has appeared at multiple encampments on college campuses

12    in the U.S. and abroad, offering words of encouragement to student activists' disruptive tactics. See

13 Exhibit 2 at pp. 10-II.4
14           In a letter dated May 29, 2024, by James Comer, Chairman of the Committee on Oversight

15    and Accountability wrote in part, "National SJP founder Dr. Hatem Bazian serves as the

16    Chairman of the National Board of AMP, further solidifying the current relationship between

17    National SJP and AMP, AMP has substantial ties to Hamas via its financial sponsor, Americans

18    for Justice in Palestine Educational Foundation, Inc. (AJP), a 501(c)(3) non-profit organization."

19    See Exhibit 5, at p. 2 (emphasis added),5

20           In yet another example, Dr. Jonathan Schanzer, Senior Vice President for Research

21    Foundation for Defense of Democracies, wrote in From Ivory Towers to Dark Corners:

22 Investigating the Nexus Between Antisemitism, Tax-Exempt Universities, and Terror Financing,

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24
      4 Congressional Testimony, Fueling Chaos; Tracing the Flow ofTax-Exempt Dollars to
      Antisemitism, Oren Segal, Vice President, Center on Extremism, ADL (Anti-Defamation League),
25
      Committee on Ways and Means U.S House of Representatives, July 23, 2024, Washington, D.C.
        citing Dan Diker & Jamie Berk, Students for Justice in Palestine Unmasked: Terror links,
26
      Violence, Bigotry, and Intimidation on US Campuses, Jerusalem Center for Public Affairs (Jun, 15,
      2018); see also American Muslims for Palestine, Our Team, available at
27
      httDS://www.amDalestine.ore/about-amD/our-team: and The Inst. for the Global Study of Global
      Antisemitism & Policy, National Students for Justice in Palestine:
28
      Antisemitism, Anti-Americanism, Violent Extremism and the Threat to North American
      Universities, 4 (May 2024).
                                                       -4-
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      "AMP'S founder, Hatem Bazian, also founded Students for Justice in Palestine, which is

      unquestionably one of the most vitriolic anti-Israel voices on campus. See Exhibit 1 at p. 4

      (emphasis added). Bazian has also specifically directed his conduct to the State of Nevada,

      Specifically, he gave a lecture at UNLV in Spring 2024. See Exhibit 6. Accordingly, there can be

      no reasonable dispute that Dr. Bazian is, at a minimum, an agent ofNSJP. Thus, service was proper.

      II. ARGUMENT

      A. SERVICE ON DR. BAZIAN ON BEHALF OF DEFENDANT NATIONAL
           STUDENTS FOR JUSTICE IN PALESTINE (NSJP) IS VALID AND PROPER

             Here, Dr. Bazian alleges that service "is invalid because he has no affiliation with NSJP and


10    no statute of rule designates him to receive service for NSJP." This argument is misplaced and

11    should be rejected. Under Nevada law, such unincorporated associations may be served (1) by

12    personal service "on any officer, trustee, director, staff member, or agent of such association," or if

13
     I all else fails, (2) by publication. See NRCP 4.2(c)(2); 4.4(l)(b).
14
             Here, this Honorable Court previously denied Plaintiffs prior request to serve NSJP by
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      publication. See supra. As such, Plaintiff was permitted to serve any officer, trustee, director, staff
16
      member, or agent ofNSJP as it is an unincorporated association. Clearly, the attached exhibits
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18    support that Dr. Bazian is, at a minimum, an agent ofNSJP. As such, it is respectfully submitted

19    that service on Dr. Bazian (on behalf of NSJP) is proper.
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       Dr. Bazian's argument regarding personal jurisdiction is also misplaced. Dr, Bazian was served as
      the agent ofNSJP, There is no dispute that NSJP is subject to jurisdiction in Clark County, Nevada.
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      Moreover, arguendo there is specific personal jurisdiction, as Dr. Bazian gave a lecture at UNLV in
      Spring 2024.
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 1    B. THE COURT SHOULD HOLD AN EVIDENTIARY HEARING IN THE EVENT
           THE MOTION IS NOT DENIED
2
             In the event this Honorable Court does not deny said Motion, the Court should hold an
 3
      svidentiary hearing to further evaluate Dr. Bazian's role, involvement, and authority with NSJP,
 4
      Dr. Bazian has placed his role, involvement,, and authority with NSJP directly at issue.
 5
      [II. CONCLUSION
 6
             The Court should deny Dr. Bazian's Motion to quash or strike service (on behalf of
 7
      Defendant NSJP).
 8
             DATED this 24th day of April 2025.
 9
10                                                           Respectfully Submitted:

11                                                           CHESNOFF & SCHONFELD

12                                                      By: Robert Z, DeMarco
                                                             DAVID Z. CHESNOFF, ESQ.
                                                             Nevada Bar No. 2292
14                                                           RICHARD A. SCHONFELD, ESQ.
                                                             Nevada Bar No. 6815
15                                                           ROBERT Z. DEMARCO, ESQ.
                                                             Nevada Bar No. 12359
16                                                           Counsel for Plaintiff, COREY GERWASKI
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                            DECLARATION OF ROBERT Z. DEMARCO. ESQ.

      STATE OF NEVADA )
                                     ) ss
      COUNTY OF CLARK )
4            I, ROBERT Z. DEMARCO, being first duly sworn hereby depose and state as follows:

              1. I am over 18 years of age and competent to testify to the matters set forth herein. I
6
      have personal knowledge of the matters stated herein and could and would competently testify
7
      thereto if called upon to do so;

             2. I am co-counsel of record for Plaintiff;
 9
10           3. Attached as Exhibit 1 is a true and correct copy of Dr. Jonathan Schanzer, Senior

11    Vice President for Research Foundation for Defense of Democracies, From Ivory Towers to Dark

      Corners: Investigating the Nexus Between Antisemitism, Tax-Exempt Universities, and Terror

13 11 „.
      Financing;
14
             4, Attached as Exhibit 2 is a true and correct copy of Congressional Testimony, Fueling
15
      Chaos: Tracing the Flow ofTax-Exempt Dollars to Antisemitism, Oren Segal, Vice President,


17    Center on Extremism, ADL (Anti-Defamation League), Committee on Ways and Means U.S,


18    House of Representatives, July 23,2024, Washington, D.C.;

19            5. Attached as Exhibit 3 is a true and correct copy of Alan Blinder, "Inside the Pro-


      Palestinian Group Protesting Across College Campuses," N.Y. Times, Nov. 17, 2023;
21
              6. Attached as Exhibit 4 is a true and correct copy of the Complaint in American
22
      Muslims for Palestine; and Dr. Hatem Bazian v, Arizona State University et al., 2:18-cv-00670-
23
24|DWL
25            7. Attached as Exhibit 5 is a tme and correct copy of Letter dated May 29,2024 by

26    James Comer, Chairman of the Committee on Oversight and Accountability.

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             8. Attached as Exhibit 6 is a true and correct copy of photos of Dr, Bazian's UNLV

      lecture in Spring 2024.

3
             I declare under penalty of perjury that the foregoing is true and correct,
4
             Dated this 24th day of April, 2025.
5
6
                                                            /s/ Robert Z. DeMarco
7
                                                            ROBERT Z. DEMARCO
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 1 || CERTIFICATE OF SERVICE

2           Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that a copy of the foregoing document

 3 was electronically filed with the Clerk of the Court to be served by the Court's electronic filing

4    system on all counsel of record.

 5          DATED this 7th day of July, 2025.

 6

 7                                                               /s/ Robert Z. DeMarco
                                                                            ofChesnoff& Schonfeld
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 1    INDEX OF EXHIBITS TO PLAINTIFF'S OPPOSITION TO MOTION TO DR. HATEM
         BAZIAN'S MOTION TO QUASH OR STRIKE IMPROPER SERVICE (ECF 56)
 2

 3
     EXHIBIT 1:       True and correct copy of Dr. Jonathan Schanzer, Senior Vice President for
 4                    Research Foundation for Defense of Democracies, From Ivory Towers to
                      Dark Corners: Investigating the Nexus Between Antisemitism, Tax-Exempt
 5                    Universities, and Terror Financing;

 6 EXHIBIT 2:         True and correct copy of Congressional Testimony, Fueling Chaos: Tracing
                      the Flow ofTax-Exempt Dollars to Antisemitism, Oren Segal, Vice
 7
                      President, Center on Extremism, ADL (Anti-Defamation League),
 8                    Committee on Ways and Means U.S. House of Representatives, July 23,
                      2024, Washington, D.C.;
 9
     EXHIBIT 3:       True and correct copy of Alan Blinder, "Inside the Pro-Palestinian Group
10                    Protesting Across College Campuses," N.Y. Times, Nov. 17, 2023;

11
     EXHIBIT 4:       True and correct copy of the Complaint in American Muslims for Palestine;
12                    and Dr. Hatem Bazian v. Arizona State University et al., 2:18-cv-00670-
                      DWL
13
     EXHIBIT 5:       True and correct copy of Letter dated M.ay 29, 2024 by James Comer,
14
                      Chairman of the Committee on Oversight and Accountability.

15
     EXHIBIT 6:       True and correct copy of photos of Dr. Bazian's UNLV lecture in Spring
16                    2024.

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